          Case 4:21-cv-00450-JM Document 109 Filed 03/24/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION


DYLAN BRANDT ET AL.                                                                   PLAINTIFFS

vs.                                  NO. 4:21-CV-00450-JM

LESLIE RUTLEDGE ET AL.                                                              DEFENDANTS

                                             NOTICE

       Pursuant to the Court’s order dated March 9, 2022, see ECF No. 105, Representative Mary

Bentley, Senator Alan Clark, Representative Robin Lundstrum, Representative Marcus Richmond,

and Representative Jim Wooten (collectively, the “Legislators”) respectfully provide notice of

their submission of the privilege log attached as exhibit 1.

       Certain documents listed on the privilege log have been withheld by the Legislators

pursuant to the attorney-client privilege and the work product doctrine. The remaining documents

are protected by applicable legislative/deliberative process privileges.       See United States v.

Brewster, 408 U.S. 501, 525, 92 S. Ct. 2531, 2544, 33 L. Ed. 2d 507 (1972) (holding the legislative

privilege “protects against inquiry into acts that occur in the regular course of the legislative

process and into the motivation for those acts”); see also In re Hubbard, 803 F.3d 1298, 1310

(11th Cir. 2015) (analyzing the scope of the privilege); Almonte v. City of Long Beach, 478 F.3d

100, 107 (2d Cir. 2007) (same); Bruce v. Riddle, 631 F.2d 272, 280 (4th Cir. 1980) (same). In

addition to the legislative/deliberative process privileges, the Legislators also affirmatively assert

all related state law protections which apply to the documents. See, e.g., Ark. Code Ann § 10-2-

129(b)(1) (affording protection to any “drafting request or information request made to a

legislative employee by or on behalf of a legislator”).
          Case 4:21-cv-00450-JM Document 109 Filed 03/24/22 Page 2 of 2




       Non-privileged documents responsive to the subpoenas served on the Legislators have been

marked as Bates Nos. GA-MEMBERS-000001 through GA-MEMBERS-006381. Undersigned

counsel has sent an electronic copy of this production to counsel for Plaintiffs.

                                              Respectfully submitted,

                                              Anton L. Janik, Jr. (Ark. Bar No. 2007271)
                                              Graham Talley (Ark. Bar No. 2015159)
                                              MITCHELL, WILLIAMS, SELIG,
                                              GATES & WOODYARD, PLLC
                                              425 West Capitol Avenue, Suite 1800
                                              Little Rock, Arkansas 72201
                                              Phone: 501-688-8800
                                              Fax: 501-688-8807
                                              ajanik@mwlaw.com
                                              gtalley@mwlaw.com




                                                 2
